Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 1 of 27 PageID 31468




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


     JOAO BOCK TRANSACTION
     SYSTEMS, LLC,

           Plaintiff,

     v.                                                     Case No. 3:13-cv-223-J-32JRK

     FIDELITY NATIONAL
     INFORMATION SERVICES, INC.,

           Defendant.


             ORDER GRANTING SUMMARY JUDGMENT OF INVALIDITY

           After some fits and starts, this patent infringement case is before the Court to

     determine whether the two patents at issue—both involving “an apparatus and

     method for providing financial transaction authorization, notification, and/or

     security”—are invalid because they are drawn to patent-ineligible subject matter.

     Applying the Supreme Court’s teachings in Mayo Collaborative Servs. v. Prometheus

     Labs., Inc., 132 S. Ct. 1289 (2012) and Alice Corp. Pty. Ltd. v. CLS Bank International,

     134 S. Ct. 2347 (2014), the Court holds that the patents are invalid.

           The parties have fully briefed Defendant Fidelity National Information

     Services, Inc.’s motions for summary judgment and for sanctions (including Plaintiff

     Joao Bock Transaction Systems, Inc.’s motion to strike certain evidence submitted in

     support of summary judgment) and the construction of certain disputed claim terms.
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 2 of 27 PageID 31469




     (Docs. 122, 124, 128, 129, 130, 134, 137, 138, 140, 149, 151, 152, 160. 1) The Court held

     a hearing on July 24, 2015, the record of which is incorporated herein. (Doc. 166.)

     I.    THE PATENTS-IN-SUIT

           Joao Bock initially asserted in its complaint that Fidelity had infringed claims

     from just one patent, U.S. Patent No. 7,096,003 (the ‘003 Patent). (Doc. 1.) In its

     answer and counterclaim, Fidelity responded that not only had it not infringed that

     patent, but the ‘003 Patent and U.S. Patent No. 6,047,270 (the ‘270 Patent), which

     Joao Bock had asserted against Fidelity’s customers in other cases, were both invalid.

     (Doc. 11.) In reply to the counterclaim, Joao Bock defended the validity of its patents

     and, in a counter-counterclaim, alleged that Fidelity was in fact infringing upon the

     ‘270 Patent as well. (Doc. 12.) At the Court’s direction, the parties simplified the

     pleadings so that the alleged invalidity and infringement of both patents are now

     contained in one amended complaint (Doc. 65), one answer and counterclaim (Doc. 72),

     and one reply to the counterclaim (Doc. 73).

           The ‘270 Patent, entitled “Apparatus and Method for Providing Account

     Security,” was issued on April 4, 2000 from an application filed on August 25, 1997,

     which in turn claims priority to an application first filed on August 8, 1996. ‘270

     Patent, at [22], [45], [55], [63]. The ‘270 Patent generally discloses “an apparatus and

     method for providing financial transaction authorization, notification, and/or security”

     for a variety of accounts that enable the accountholder to monitor and/or authorize,



           1 The parties also filed thousands of pages of exhibits in support of their briefs,
     a number of which were filed under seal. This Order makes no mention of any sealed
     or otherwise confidential matters.


                                                2
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 3 of 27 PageID 31470




     often in real-time, the activity on her account through interaction between, for

     example, her personal communication device and a bank’s central processing

     computer. Id. col. 4 ll. 33-35; col. 8 ll. 57-67; col. 9 ll. 1-15. The invention does this by

     allowing for placing restrictions on the account, providing notifications, and/or

     providing transaction records for the account.

            The ‘003 Patent, entitled “Transaction Security Apparatus,” was issued on April

     22, 2006 from an application filed on September 10, 2001, claiming priority to the same

     August 8, 1996 application as the ‘270 Patent. 2 ‘003 Patent, at [22], [45], [54], [63].

     Though the ‘003 Patent contains a very similar specification as the ‘270 Patent and

     generally discloses the same invention, the relevant distinction between the two is

     that the ‘003 Patent specifically teaches using the Internet, the World Wide Web,

     email, and wireless devices to facilitate the monitoring and/or authorization described

     in the ‘270 Patent.

            At the Court’s direction (Doc. 115), Joao Bock has limited the patent claims

     asserted to twenty-five: claims 3, 20, 21, 28, 49, and 51 of the ‘270 Patent and claims

     101, 104, 117, 135, 138, 148, 157, 180, 232, 236, 240, 244, 250, 252, 307, 313, 336, 345,

     and 346 of the ‘003 Patent (collectively, “Asserted Claims”) (Doc. 130). These claims




            2 The ‘270 Patent and the ‘003 Patent are part of the same family as a patent
     not asserted here, U.S. Patent No. 6,529,725 (the ‘725 Patent). The ‘725 Patent issued
     on March 4, 2003 from an application filed on October 9, 1998, but claimed priority to
     the same August 8, 1996 application as the ‘270 and ‘003 Patents. ‘725 Patent, at [22],
     [45], [63]. In fact, the ‘003 Patent is supposedly a continuation of the application that
     led to the ‘725 Patent. ‘725 Patent, at [63]. The ‘725 Patent claims a “Transaction
     Security Apparatus and Method” very similar to that claimed in the ‘270 Patent and
     the ‘003 Patent. ‘725 Patent, at [54], [57]; col. 3 ll. 66-67; col. 4 ll. 1-7.


                                                  3
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 4 of 27 PageID 31471




     are all dependent, so-called “apparatus” or “system” claims. 3

           The patents-in-suit have something of a litigation history. Together, the patents

     (or a related patent) have been the subject of at least thirty-three infringement actions

     (Doc. 134-2), though few of these actions have resulted in a ruling on the merits. One

     such ruling is of particular note. 4 On December 15, 2014, in Joao Bock Transaction

     Systems, LLC v. Jack Henry & Associates, Inc. (“Jack Henry”), the District of

     Delaware granted summary judgment for the defendant and against Joao Bock,

     holding that each of the twelve claims from the ‘003 Patent Joao Bock asserted were

     invalid and, therefore, not infringed. Civ. No. 12-1138-SLR, 2014 WL 7149400, at *9

     (D. Del. Dec. 15, 2014). As discussed in further detail below, the Jack Henry court

     determined that the claims asserted there were directed to subject matter ineligible

     for patent under 35 U.S.C. § 101. The court later entered judgment consistent with its

     memorandum opinion. Joao Bock’s appeal is currently pending in the Federal Circuit. 5




           3  For ease of reference, the Court will cite to claims simply by number unless
     further specificity is needed. The complete text of the Asserted Claims are set forth in
     an appendix to this Order, along with the text of the independent claims from which
     the Asserted Claims depend.
           4  The parties also reference other rulings from cases in California, New York,
     and Illinois, though they are not particularly useful in the context of this Order. It is
     worth adding that, prior to filing the instant case, Joao Bock filed in the Tampa
     Division of the Middle District of Florida a separate case against certain of Fidelity’s
     customers. That case has been stayed pending the resolution of this case. Joao Bock
     Transaction Systems, LLC v. USAmeriBank, 8:11-cv-887-T-35TGW, Doc. 233.
           5  At the July 24, 2015 hearing, Joao Bock asked for the first time that the Court
     stay this matter pending resolution of the appeal in Jack Henry. The Court took the
     request under advisement. Upon due consideration, Joao Bock’s ore tenus motion to
     stay is due to be denied.


                                                4
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 5 of 27 PageID 31472




     II.   FIDELITY’S MOTION FOR SUMMARY JUDGMENT OF INVALIDITY

           Keying off the ruling in Jack Henry, Fidelity has moved for summary judgment

     on the ground that the Asserted Claims are drawn to ineligible subject matter and are

     therefore invalid. 6 (Doc. 124 at 6-18; Doc. 137 at 1-7.) Joao Bock contests both the

     reasoning and the applicability of the Jack Henry opinion, as well as that Fidelity has

     met its burden of proving that the subject matter of the Asserted Claims are not patent

     eligible. (Doc. 130 at 22-40.)

           A.     Standard of Review

           “The court shall grant summary judgment if the movant shows that there is no

     genuine dispute as to any material fact and the movant is entitled to judgment as a

     matter of law.” Fed. R. Civ. P. 56(a); C.R. Bard, Inc. v. Advanced Cardiovascular Sys.,

     Inc., 911 F.2d 670, 672-73 (Fed. Cir. 1990). “[T]he ultimate question of patent validity

     is one of law,” though factual determinations bear on the outcome. Microsoft Corp. v.

     i4i Ltd., 131 S. Ct. 2238, 2242-43 (2011). “[P]atents are presumed to be valid and

     overcoming this presumption requires clear and convincing evidence.” Alcon Research

     Ltd. v. Barr Labs., Inc., 745 F.3d 1180, 1188 (Fed. Cir. 2014) (citing Microsoft, 131 S.

     Ct. at 2242). 7 “Stated another way, summary judgment is inappropriate if a trier of



           6 Though Fidelity also argues that the Asserted Claims are invalid under 35
     U.S.C. §§ 102 and 103 (Doc. 124 at 18-30), patent eligibility has been described as a
     “threshold” inquiry, Bilski v. Kappos, 561 U.S. 593, 602 (2010). Thus, the Court
     focused the July 24 hearing on eligibility and advised the parties that, if necessary, it
     would convene another hearing to discuss Fidelity’s other invalidity arguments.
           7  At least one member of the Federal Circuit has questioned whether any such
     presumption applies when the patent’s eligibility is being challenged. Ultramercial,
     Inc. v. Hulu, LLC, 772 F.3d 709, 717, 720-21 (Fed. Cir. 2014) (Mayer, J., concurring).
     This Court would still reach the conclusion set forth below, however, whether a


                                                5
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 6 of 27 PageID 31473




     fact applying the clear and convincing standard could find for either party.” Oney v.

     Ratcliff, 182 F.3d 893, 895 (Fed. Cir. 1999). As in all other cases, the party moving for

     summary judgment on a question of patent validity bears the burden, and “the district

     court is required to view the evidence presented in a light most favorable to the

     nonmoving party and to draw all reasonable inferences in favor of the nonmoving

     party.” C.R. Bard, 911 F.2d at 672.

           B.     Claim Construction

           Before turning to the substance of the parties’ eligibility arguments, the Court

     considers the necessity of claim construction to the analysis. Construction of the scope

     and meaning of a patent’s claims is a matter of law for the court and is generally the

     first step in a determination of invalidity or infringement, Key Pharm. v. Hercon Labs.

     Corp., 161 F.3d 709, 714 (Fed. Cir. 1998), because “‘the claims of a patent define the

     invention to which the patentee is entitled the right to exclude,’” Phillips v. AWH

     Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water, Inc.

     v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004)); see

     Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995). However,

     “[a]lthough the determination of patent eligibility requires a full understanding of the

     basic character of the claimed subject matter, claim construction is not an inviolable

     prerequisite to a validity determination under § 101.” Content Extraction &

     Transmission LLC v. Wells Fargo Bank, Nat. Ass'n, 776 F.3d 1343, 1349 (Fed. Cir.

     2014) (citing Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 714-15 (Fed. Cir. 2014)



     presumption of eligibility applied or not.


                                                  6
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 7 of 27 PageID 31474




     and Bancorp Servs., L.L.C. v. Sun Life Assurance of Can. (U.S.), 687 F.3d 1266, 1273-

     74 (Fed. Cir. 2012)). In Content Extraction, the Federal Circuit held that, in the

     deciding a motion to dismiss on the grounds of patent-ineligibility, the district court

     had acted properly in not conducting its own claim construction, but construing the

     disputed claim terms in the manner most favorable to the non-movant and finding

     that the claims were nevertheless patent-ineligible. Id.

           Fidelity’s position as stated during oral argument is that claim construction is

     not necessary to the § 101 analysis here because the Court could adopt Joao Bock’s

     proposed construction of the disputed terms and still rule in Fidelity’s favor. Joao Bock

     agreed during the hearing that most of the claim construction disputes would not

     impact the eligibility analysis, with a few possible exceptions.

           For purposes of its patent-eligibility inquiry only, the Court adopts Joao Bock’s

     proposed construction of the disputed claim terms. 8 Doing so changes neither the

     Court’s understanding of the basic character of the subject matter of the Asserted

     Claims nor the outcome of its analysis.

           C.     Patent Eligibility under 35 U.S.C. § 101

           “Whoever invents or discovers any new and useful process, machine,



           8 Joao Bock’s proposed constructions can be found in the parties’ Joint Claim
     Construction Statement. (Doc. 147.) The Court’s decision to adopt Joao Bock’s
     proposals for purposes of this Order only includes those terms that the parties could
     not agree needed construction: “security,” “transaction,” and “limitation or restriction.”
     Joao Bock also suggested during the hearing that two additional terms not submitted
     for construction might be important to a § 101 inquiry: “processor” and “real-time.”
     Though Joao Bock has not submitted proposed constructions for these terms, even
     viewed in the manner most favorable to Joao Bock, these terms do not change the
     Court’s eligibility analysis.


                                                 7
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 8 of 27 PageID 31475




     manufacture, or composition of matter, or any new and useful improvement thereof,

     may obtain a patent therefor, subject to the conditions and requirements of this title.”

     35 U.S.C. § 101. Section 101 addresses only whether the claimed invention is eligible

     to be patented; 35 U.S.C. §§ 102, 103, 112, and other sections of the patent code deal

     with issues of novelty, obviousness, and the description of the claimed invention that

     might affect its patentability. Though § 101 employs broad language, the Supreme

     Court has recognized that a patent may be invalid if it is drawn to certain exceptions

     from eligibility for “‘laws of nature, natural phenomena, and abstract ideas.’” Bilski v.

     Kappos, 561 U.S. 593, 601 (2010) (quoting Diamond v. Chakrabarty, 44 U.S.C. 303,

     309 (1980)). Fidelity contends that the patents-in-suit are drawn to an abstract idea

     and so are excepted from patent eligibility under § 101.

                  1.     Alice Corp. Pty. Ltd. v. CLS Bank International

           Fidelity draws inspiration for its argument from the recent Supreme Court

     opinion in Alice Corp. Pty. Ltd. v. CLS Bank International, 134 S. Ct. 2347 (2014),

     which has started a wave of court activity on the patent-eligibility of abstract ideas.

     The respondent in Alice sought a declaration that certain claims from the petitioner’s

     family of patents were invalid. Id. at 2353. The patents largely shared a specification

     of a computerized trading platform for conducting financial transactions in which a

     neutral third party settled the obligations between two parties to avoid the risk that

     one party would perform only for the other to be unable to pay. Id. at 2352-53. The

     district court ruled that petitioner’s patent claims were not patent eligible under § 101

     because they were directed to the abstract idea of using an intermediary to facilitate

     a transaction, only with the addition of a computer. Id. at 2353.


                                                8
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 9 of 27 PageID 31476




           A divided panel of the Federal Circuit reversed, but then on rehearing en banc,

     the whole court affirmed the district court, though without producing a majority

     opinion. CLS Bank Int’l v. Alice Corp. Pty. Ltd, 717 F.3d 1269 (Fed. Cir. 2013). A

     majority of judges agreed to affirm the ineligibility of the so-called “method” and

     “computer-readable media” claims, but could not agree on the reasoning. Id. at 1273-

     74, 1312-13. The court was equally divided on the eligibility of the “systems” claims,

     so the district court’s ruling that they were not eligible was also affirmed. Id. at 1273.

           The Supreme Court apparently saw the case as more straightforward,

     unanimously holding that the claims at issue were not patent eligible because they

     were drawn to the abstract idea of intermediated settlement with generic computer

     implementation. 134 S. Ct. at 2352. The Court began with the language of § 101 and

     the exceptions for “laws of nature, natural phenomena, and abstract ideas.” Id. at

     2354. The exceptions exist to avoid complete pre-emption of these basic concepts by a

     patent while recognizing that “[a]t some level, ‘all inventions . . . embody, use, reflect,

     rest upon, or apply laws of nature, natural phenomena, or abstract ideas.’” Id. (quoting

     Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1293 (2012)).

     Thus, courts must “tread carefully” to “distinguish between patents that claim the

     ‘building blocks’ of human ingenuity and those that integrate the building blocks into

     something more, thereby ‘transforming’ them into a patent-eligible invention.” Id.

     (quoting Mayo, 132 S. Ct. at 1294, 1303).

           To that end, the Court employed a two-part framework first set forth in Mayo:

     “First, we determine whether the claims at issue are directed to one of those patent




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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 10 of 27 PageID 31477




      ineligible concepts. If so, we then ask, ‘what else is there in the claims before us?’” Id.

      at 2355 (quoting Mayo, 132 S. Ct. at 1296-97). To answer the second question, the

      Court considered the elements of each claim individually and “as an ordered

      combination” to identify whether the patent claims an “‘inventive concept’” that makes

      it more than just the ineligible concept. Id. (quoting Mayo, 132 S. Ct. at 1294).

            The Court also reviewed prior precedent on abstract ideas, including Bilski v.

      Kappos, 561 U.S. 593 (2010). Bilski had held that a method for hedging financial risk

      reflected a fundamental economic principle taught in any finance class and so was not

      eligible. Id. at 609. The Alice Court concluded that the concept of intermediated

      settlement was similarly a basic economic idea. Alice, 134 S. Ct. at 2356-57. The

      category of ineligible abstract ideas is not limited to “preexisting, fundamental truths

      that exist in principle apart from any human action,” but can include “method[s] of

      organizing human activity.” Id. (quotations omitted). It took little effort for the Court

      to find that intermediated settlement fit that bill. Id. at 2357.

            With that decided, the Court went searching for any added inventive value in

      the patents and found them wanting. To truly transform an abstract idea into

      something more, a patent must do more than state the idea and say, “apply it.” Id. at

      2357. “The introduction of a computer into the claims does not alter the analysis . . . .”

      Id. So claiming an abstract idea, even an algorithm or formula, implemented on a

      general purpose computer does not make the abstract idea patentable. Id. Nor can

      “‘the prohibition against patenting abstract ideas . . . be circumvented by attempting

      to limit the use of the idea to a particular technological environment.’” Alice, 134 S.




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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 11 of 27 PageID 31478




      Ct. at 2358 (quoting Bilski, 561 U.S. at 610-11). On the other hand, an improvement

      on an existing technological process by use of a computer may be patent-eligible. Id.

      But “wholly generic computer implementation is not generally the sort of ‘additional

      feature’ that provides any ‘practical assurance that the process is more than a drafting

      effort designed to monopolize the abstract idea itself.’” Id. (quoting Mayo, 132 S. Ct. at

      1297). Whether considered claim-element-by-claim-element or as a whole, the Court

      found petitioner’s method of providing for intermediated settlement purely

      conventional, with the claimed computer performing generic computer functions that

      added nothing inventive. Id. at 2359.

            The Court did not spare the asserted system and computer-readable media

      claims. Id. at 2360. The petitioner argued that the system claims recited “‘specific

      hardware’ configured to perform ‘specific computerized functions,’” but the Court

      viewed the terms in the patent, like “data processing system,” “communication

      controller,” and “data storage unit,” to be only the generic components in every

      computer. Id. Recitation of these elements therefore added no “meaningful limitation”

      to the abstract idea beyond the instruction that one should “use a computer.” Id.

      Rather, the Court saw the system and media claims as “no different from the method

      claims in substance. The method claims recite the abstract idea on a generic computer;

      the system claims recite a handful of generic computer components configured to

      implement the same idea.” Id. The ticket to patent eligibility under § 101 is not clever

      drafting of a patent to recite system claims rather than method claims. Id. Thus, the

      systems and media claims were invalid for the same reasons as the method claims. Id.




                                                 11
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 12 of 27 PageID 31479




            As the parties here note, the claims of dozens of business method and apparatus

      patents, including claims in the ‘003 Patent, have been found invalid since Alice, while

      only a few have withstood eligibility challenges. 9 The Court will now see into which

      group the patents here fall.

                   2.     Abstract Idea

            Fidelity contends that the Asserted Claims “embody the abstract idea of using

      account holder notifications or account limits to provide security for

      financial transactions and accounts—a foundational idea of banking and

      commerce.” (Doc. 124 at 7 (emphasis added).) Fidelity says banks and merchants have

      used both notifications and preset limits and authorizations to address unauthorized

      account activity for over a century, and simply directing that it be done on a generic

      computer or over the Internet adds nothing inventive that would make either the ‘270

      Patent or the ‘003 Patent eligible. (Id. at 7-8.) Fidelity sees “little daylight” between

      the abstract idea it identifies in the patents-in-suit here and the ineligible ideas

      embodied by the patents in Alice and Bilski. (Id. at 10-11.) Moreover, many of the

      claims asserted here depend on claims invalidated by the Delaware district court in



            9  The parties identified in the Middle District of Florida one patent that
      withstood an eligibility challenge and three that have been invalidated under Alice.
      See, e.g., StoneEagle Servs., Inc. v. Pay-Plus Sols., Inc., No. 8:13-cv-2240-T-33MAP,
      2015 WL 4042097 (M.D. Fla. July 1, 2015) (Covington, J.) (denying a motion for
      summary judgment based on, among other things, the alleged ineligibility of the
      patents-in-suit); FairWarning IP, LLC v. Iatric Sys., Inc., No. 8:14-cv-2685-T-23MAP,
      2015 WL 3883958 (M.D. Fla. June 24, 2015) (Merryday, J.) (granting summary
      judgment of invalidity under § 101); Enpat, Inc. v. Tenrox Inc., No. 6:13-cv-948-Orl-
      31KRS, 2015 WL 541673 (M.D. Fla. Feb. 10, 2015) (Presnell, J.) (same); Every Penny
      Counts, Inc. v. Wells Fargo Bank, N.A., No. 8:11-cv-2826-T-23TBM, 2014 WL 4540319
      (M.D. Fla. Sept. 11, 2014) (Merryday, J.) (same).


                                                 12
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 13 of 27 PageID 31480




      Jack Henry, and, Fidelity argues, those that do not are still drawn to same abstract

      idea. 10 (Id. at 11-12, see id. at 12-17.)

             Joao Bock points out that eligibility is meant to be a coarse filter of patent

      applications, not the fine net Fidelity seeks to cast. (Doc. 130 at 24.) Joao Bock counsels

      against relying on the Jack Henry decision, first because the court there addressed

      different claims than those asserted here and, second, because the Jack Henry court

      never articulated a specific abstract idea that the ‘003 Patent purportedly preempts.

      (Id. at 25-27.) Joao Bock faults Fidelity’s analysis for failing to look at each asserted

      claim and, as a result, missing key distinctions that make Fidelity’s proposed abstract

      idea a bad fit. (Id. at 27-29.) Joao Bock further contests that the identified abstract

      idea is truly a fundamental economic practice; rather, Joao Bock contends the systems

      claimed in the patents-in-suit were novel when they were invented and have only since

      become the preferred security practice because they solved problems in prior systems

      by automating the process, disintermediating bank personnel, and empowering the

      account holder with more convenient access to her account. (Id. at 29-34.)

             The Court has reviewed each of the Asserted Claims and determines that they

      do encompass an abstract idea. In its broadest form, the claims relate to account

      monitoring and authorization, though Fidelity’s narrower formulation also accurately

      describes the claims. In some of the claims, the abstract idea is embodied by the

      account holder pre-supplying account limitations to the institution and the institution




              Fidelity relies on Jack Henry purely for its persuasive power and has not
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      made an argument for the application of collateral estoppel. (See Doc. 160 at 1-2.)


                                                   13
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 14 of 27 PageID 31481




      then completing the transaction or not based on those limitations. Other claims

      involve the account holder receiving notification to approve or deny a transaction or

      that a transaction has been approved or denied. Still other claims involve some

      combination of pre-supplied limitation and account holder notification. But they are

      all directed to the same abstract idea.

            In identifying this abstract idea, the Court finds helpful the computer-less

      hypotheticals the defendant proposed and the court adopted in Jack Henry. 11 In these

      hypotheticals, “‘Mr. Ashley, a bank teller, is sorting the checks presented that day for

      payment. An account holder, Ms. Samuels, asks (or has asked) Mr. Ashley to stop

      payment on her check No. 235 for $75.00. Mr. Ashley locates check 235 for $75.00 and

      does not pay it.’” 2014 WL 7149400 at 6. A claim-by-claim comparison for claim 3 of

      the ‘270 Patent might go as follows:

                 ‘270 Claim Language                   Performance without a Computer
       An apparatus for providing account
       security, comprising:
       a receiver for receiving one of a           Mr. Ashley.
       limitation and a restriction on usage of
       an electronic money account,
       wherein said one of a limitation and a      Ms. Samuels speaks to Mr. Ashley, or
       restriction are received from an account    she gives him a note, and asks that Mr.
       holder;                                     Ashley stop payment on check No. 235
                                                   for $75.00 or that he put a hold order on
                                                   her account.




            11 As noted earlier, Jack Henry did not involve the ‘270 Patent. Joao Bock has
      also been careful to avoid asserting claims in this case that were invalidated in Jack
      Henry. Still, many of the claims asserted here are dependent upon independent claims
      invalidated in Jack Henry. The remaining Asserted Claims are susceptible to the same
      analysis. Thus, the Court tweaks the Jack Henry illustrations to fit the claims
      asserted here, but only slightly.


                                                  14
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 15 of 27 PageID 31482




       a memory device for storing said one of       Mr. Ashley’s memory or the bank’s
       a limitation and a restriction; and           written list used for reference regarding
                                                     holds or stop payment orders.
       a processor for processing a transaction      Mr. Ashley as he sorts checks and
       on the electronic money account in            recalls and applies stop payments of
       conjunction with said one of a limitation     holds.
       and a restriction;
       wherein said processor generates a first      Mr. Ashley determines that he is not to
       signal, and further wherein said first        approve payment of the check Ms.
       signal contains information for one of        Samuels identified.
       approving and disapproving the
       transaction.
       a transmitter for transmitting a              Mr. Ashley calls or encounters Ms.
       notification signal to a communication        Samuels. He speaks to her and tells her
       device associated with the account            he found the check and stopped
       holder, wherein the communication             payment of it.
       device is one of a device for receiving
       said notification signal, a telephone, a
       beeper, a pager, a two-way pager, a
       reply pager, a home computer, a
       personal computer, a personal
       communication device, a personal
       communication services device, a digital
       communication device, a television, an
       interactive television, a digital
       television, a personal digital assistant, a
       display telephone, a radio, a car radio, a
       video telephone, a watch, a cellular
       telephone, a wireless telephone, a
       mobile telephone, a display cellular
       telephone, and a facsimile machine.

            The hypothetical works for claims in the ‘003 Patent, as well. For instance, a

      claim-by-claim comparison with claim 102 of the ‘003 Patent might go as follows:

                ‘003 Claim Language                      Performance without a Computer
       A transaction security apparatus,
       comprising:
       a memory device, wherein the memory           Mr. Ashley’s memory or the bank’s
       device stores                                 written list used for reference regarding
                                                     holds or stop payment orders.
       a limitation or restriction on a use of an    Mr. Ashley has memorized, or recalls to
       account, wherein the account is capable       review, the written list of accounts


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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 16 of 27 PageID 31483




       of being utilized in transactions            having a hold or stop payment order.
       involving the purchase of goods and
       services
       wherein the limitation or restriction is     Ms. Samuels speaks to Mr. Ashley, or
       transmitted from a communication             she gives him a note, and asks that Mr.
       device associated with an individual         Ashley stop payment on check No. 235
       account holder, and further                  for $75.00 or that he put a hold order on
                                                    her account.
       wherein the limitation or restriction is     Use of Internet or World Wide Web does
       transmitted to a receiver on or over at      not confer patent eligibility.
       least one of the Internet and the World
       Wide Web,
       wherein the limitation or restriction is     Mr. Ashley hears Ms. Samuels’s
       automatically received by the receiver,      request, or reads her note
       and further
       wherein the limitation or restriction is     Mr. Ashley memorizes Ms. Samuels’s
       automatically stored in the memory           request or note or writes it onto the
       device; and                                  bank list of stop payment orders or
                                                    account hold order.
       a processing device,                         Mr. Ashley.
       wherein the processing device processes      Mr. Ashley notices a check on Ms.
       an authorization request for a               Samuels’s account that matches the
       transaction on the account, wherein the      hold or stop payment order of Ms.
       processing device utilizes the limitation    Samuels.
       or restriction automatically stored in
       the memory device in processing the
       authorization request, and
       further wherein the processing device        Mr. Ashley determines that he is not to
       generates a signal containing                approve payment of the check Ms.
       information for authorizing or               Samuels identified.
       disallowing the transaction.

            The Court need not belabor the point and run comparisons of each remaining

      Asserted Claim, but can say from its review that the remaining claims are

      substantially similar to these representative claims and are drawn to the same

      abstract idea. Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l

      Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014) (concluding that, after having identified

      and reviewed representative claims, “[t]he district court . . . correctly determined that



                                                   16
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 17 of 27 PageID 31484




      addressing each claim of the asserted patents was unnecessary”).

            To counter the contention that its claims are directed to an abstract idea, Joao

      Bock points out that the defendants in its infringement cases cannot seem to agree on

      a formulation of the idea. (Doc. 130 at 29.) But the various proposals are different only

      in form, not substance. Joao Bock has not suggested, and this Court does not find, any

      meaningful distinction between Fidelity’s proposed abstract idea of “using account

      holder notifications or account limits to provide security for financial transactions and

      accounts” and the ones proposed in Joao Bock’s other cases. (See Doc. 130 at 29

      (referencing proposals like “issuer transaction confirmation,” “asking a payor to

      approve a transaction,” “safeguarding banking transaction by applying predefined

      restrictions or account limits,” or “securing a transaction by comparing a transaction

      request to a stored limitation.”).) As Fidelity correctly argues in its reply, there is

      nothing in the case law requiring the abstract idea to be susceptible to only one

      linguistic formulation. (Doc. 137 at 2-3). But c.f. DDR Holdings, LLC v. Hotels.com,

      L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014) (noting defendant’s difficulty in

      characterizing the abstract idea as a possible reason for finding the claim patent-

      eligible). Rather, the Court views these proposals as all reflecting the same patent-

      ineligible abstract idea encompassed by the patents.

            Joao Bock also argues that, because Fidelity’s preferred formulation of the

      abstract idea references both account and transaction security, it cannot apply to both

      the asserted claims from the ‘270 Patent, which each carry a preamble about account

      security, and the asserted claims from the ‘003 Patent, which carry a preamble about




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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 18 of 27 PageID 31485




      transaction security. 12 (Doc. 130 at 27-28.) But the Court finds any distinction

      between account security and transaction security illusory in this context. Even if

      there were a meaningful difference, any potential imprecision in Fidelity’s formulation

      of the abstract idea could easily be solved by simply saying that the ‘270 Patent

      encompasses the abstract idea of “using account holder notifications or account limits

      to provide security for financial accounts,” while the ‘003 Patent encompasses the

      abstract idea of “using account holder notifications or account limits to provide

      security for financial transactions.”

            Joao Bock makes a similar argument that only some of the Asserted Claims

      include account holder notifications, so a proposed abstract idea referencing

      notifications and account limits cannot cover the claims that do not include

      notifications. 13 (Id. at 27-28.) The Court rejects this argument for the same reasons

      discussed above.

            The Court disagrees with Joao Bock that the patents-in-suit survive the first

      step of the Mayo/Alice analysis because any abstract idea they might contain is a novel

      one, not “a fundamental business practice long prevalent in our system of commerce.”

      First, as Fidelity notes, novelty is a matter for the second step of the Mayo/Alice

      analysis, which will be discussed in short order. Ultramercial, Inc. v. Hulu, LLC, 772

      F.3d 709, 715 (Fed. Cir. 2014); see Alice, 134 S. Ct. at 2355 (quoting Mayo, 132 S. Ct.


            12 Fidelity contests that the preambles are limiting and cites to two other courts
      that have agreed. (Doc. 122 at 9.) The Court accepts Joao Bock’s position, however, for
      purposes of this Order only.
            13 Joao Bock’s position seems contrary to its insistence on a claim-by-claim
      review. (See Doc. 130 at 23.)


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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 19 of 27 PageID 31486




      at 1294). Second, while Fidelity has not presented any banking or economic textbooks

      outlining a long history of using account limits and notifications as a means for

      security, the Court has little difficulty deciding that these “method[s] of organizing

      human activity” are basic commercial practices. 14 Alice, 134 S. Ct. at 2356-57. Thus,

      the answer to the first question of the Mayo/Alice framework—“whether the claims at

      issue are directed to one of those patent-ineligible concepts”—is “yes.”

                   3.     Inventive Concept

            A claim drawn to an abstract idea can still be patent-eligible if it adds an

      “inventive concept” that transforms the abstract idea into a real invention, and does

      not just add the words “apply it”. Alice, 134 S. Ct. at 2355, 2357. “The introduction of

      a computer into the claims” is not such a transformative concept where the computer

      is generic and used conventionally. Id. at 2357-59. Nor is “the use of the Internet . . .

      sufficient to save otherwise abstract claims from ineligibility under § 101.”

      Ultramercial, 772 F.3d at 716 (citing CyberSource Corp. v. Retail Decisions, Inc., 654

      F.3d 1366, 1370 (Fed. Cir. 2011). An attempt to artificially limit the abstract idea “‘to

      a particular technological environment’” also does not make a claim patent-eligible.

      Alice at 2358 (quoting Bilski, 561 U.S. at 610-11).




            14  In affirming an invalidity judgment, the Federal Circuit in Ultramercial
      seemed satisfied that the claim at issue there “recites an abstraction—an idea, having
      no particular concrete or tangible form,” without needing to conclude that the idea was
      “fundamental” or “long prevalent in our system of commerce.” 772 F.3d at 715. In
      buySAFE, Inc. v. Google, Inc., though, the court did mention the “ancient lineage” of
      the idea captured by the claims and cite to a historical reference. 765 F.3d 1350, 1355
      (Fed. Cir. 2014). Either way, the Court is satisfied that the patents-in-suit here are
      directed to a concept elementary to banking and finance.


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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 20 of 27 PageID 31487




             Fidelity contends that the various computer components recited in the claims—

      like “memory device,” “communication device,” “receiver,” “transmitter,” “processing

      device,” “input device,” “display device,” and “data entry device”—are ordinary

      components of any generic computer, none of which Joao Bock claims to have invented.

      (Doc. 124 at 12-18.) Specifying the use of the Internet, the World Wide Web, email, or

      wireless devices to the certain claims in the ‘003 Patent add nothing inventive in

      Fidelity’s view. (Id. at 14-17.) Fidelity also does not regard limitations on specific

      claims to certain types of financial accounts as meaningfully limiting the abstract idea

      it has identified. (Id. at 13.)

             Joao Bock, by contrast, describes the ‘270 and ‘003 Patents as providing a “new

      communications pathway for improving account and transaction monitoring” by

      eliminating bank employees from the process and giving account holders timely, in

      some cases real-time, information on their accounts and transactions. (Doc. 130 at 4-

      5.) According to Joao Bock, this is a “new configuration” of the relationship between

      account holder and financial institution that solved a specific industry problem in the

      1990s. (Id. at 5; 31-33.) Joao Bock further contends that, to the extent the claims might

      be seen as invoking an abstract idea, they contain sufficient limitations to avoid

      preempting all applications of the idea, which was the Supreme Court’s main fear in

      Alice. (Id. at 34-37.) One such limitation, Joao Bock says, is the practical reality that

      the computer elements recited in the claims must be “specialized devices,” not just

      generic computer components. (Id. at 37-40.) Joao Bock urges the Court to remember

      that what is now conventional in banking and computing was novel at the time Joao




                                                 20
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 21 of 27 PageID 31488




      Bock claimed to have invented it. (Id. at 38, 40.)

            Fidelity disputes that Joao Bock’s description of the patents can be found in the

      actual claims. (Doc. 137 at 4-6.) Fidelity contends, for example, that Joao Bock’s

      references to account holder access “from anywhere at any time” and eliminating

      involvement of bank employees are not found in the claims. (Id. at 4-5.) Fidelity also

      reads the claims and the specifications to refer to only generic computer components

      and charges Joao Bock with relying on unsupported expert testimony to

      “manufacture” a requirement of “very specific” and “extremely powerful” computers.

      (Id. at 6-7.) Fidelity instead describes the patents-in-suit as the conventional computer

      application of an abstract idea that is not patent eligible. (Id.)

            The Court agrees with Fidelity and the Jack Henry court that, whether viewed

      individually or as an ordered combination, the elements of the Asserted Claims add

      nothing inventive to the abstract idea such that it would grant them patent eligibility

      under § 101. Joao Bock does not claim to have invented any of the computer

      components recited in the claims or to have written the “widely known data processing

      and/or software routines, which are known to those skilled in that art” that the patent

      specifications propose be run on the processor recited in the Asserted Claims. See, e.g.,

      ‘270 Patent col. 19 ll. 21-25; ‘003 Patent, col. 17 ll. 26-30. The Court further agrees

      with the Jack Henry court that the requirement of specialized computer components

      created by Joao Bock’s expert finds no support in the patents themselves. For instance,

      the expert contends that the invention requires powerful mainframe computers. 15


            15   Again, Joao Bock does not claim to have invented these powerful computers.


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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 22 of 27 PageID 31489




      (Doc. 131-1, ¶¶ 136-38.) Such a requirement is nowhere in the patents, however.

      Instead, both specifications state that “[t]he central processing computer . . . may be a

      mainframe computer, a mini-computer, a micro-computer, a server computer, such as

      those utilized in conjunction with on-line services and/or in a network environment,

      and/or any other suitable computer or computer system.” See, e.g., ‘270 Patent col. 15

      ll. 54-58; ‘300 Patent col. 13 ll. 66-67; col. 14 ll. 1-3. Neither can any of the other

      specializations claimed by the expert be found in the patents. Instead, the Asserted

      Claims merely call for the entry, receipt, transmission, storing, processing, and display

      of data, the typical functions of computers, not the specialized functions that Joao

      Bock’s expert reads into them. Thus, the factual dispute Joao Bock identifies regarding

      what was conventional in computers in 1996 turns out to be a straw man, since the

      dispute only exists if one accepts that the “powerful” computers described by Joao

      Bock’s expert are actually recited in the patents.

            The Asserted Claims’ use of computers distinguishes them from the claims

      deemed eligible in DDR Holdings. There, the claims presented a solution “necessarily

      rooted in computer technology in order to overcome a problem specifically arising in

      the realm of computer networks.” DDR Holdings, 773 F.3d at 1257. By contrast, the

      kinds of specific limitations Joao Bock identifies in the patents—like real-time

      communication and eliminating bank employees from the process—demonstrate that

      the Asserted Claims employ computers only for their most basic functions—speed and

      automation—in performing tasks that Joao Bock elsewhere concedes could be




                                                 22
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 23 of 27 PageID 31490




      performed even without computers. 16 But “claiming the improved speed or efficiency

      inherent with applying the abstract idea on a computer [does not] provide a sufficient

      inventive concept.” Intellectual Ventures I LLC v. Capital One Bank (USA), Nat’l

      Ass’n, No. 2014-1506, 2015 WL 4068798, at *3 (Fed. Cir. July 6, 2015). The recitation

      of computers in the Asserted Claims adds nothing beyond the direction to use a

      computer to provide account limits and notifications. 17 Given the ubiquity of

      computers, finding the Asserted Claims valid would allow Joao Bock a patent (or two)

      over an entire abstract idea.

            Before the July 24 hearing, the Court asked the parties to review and be

      prepared to discuss the Federal Circuit’s recent decision in Intellectual Ventures. The

      discussion during the hearing confirmed that that decision fits this case well. In

      Intellectual Ventures, the Federal Circuit affirmed the district court’s determination

      that two patents were directed to ineligible subject matter, including a method patent

      that essentially patented the concept of budgeting, whereby a user could set limits on

      financial transactions with her bank and receive an Internet or telephone notification

      of her transaction data when she hit the pre-set limits. 2015 WL 4068798 at *3. The

      Federal Circuit found that idea to be in keeping with the abstract ideas deemed



            16 Joao Bock makes this concession while attempting to show that its patents
      do not preempt the entire abstract idea because performing the same tasks by hand,
      in person, or over the phone would not infringe. (Doc. 130 at 36-37.) The Court agrees
      with the Jack Henry court that “this argument turns the analysis on its head.” Jack
      Henry, 2014 WL 7149400 at *8.
            17 Further adding the Internet or the World Wide Web in the way recited in the
      ‘003 Patent does not add any novel, inventive component. Ultramercial, 772 F.3d at
      716-17.


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Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 24 of 27 PageID 31491




      ineligible in Alice and Bilski and in prior Federal Circuit cases. Id. The claim

      elements—a database, a user profile, and a communications medium—were all

      generic computer properties performing generic computer tasks that added “no

      inventive concept.” Id. at *4. Instead, the basic concept of the patent could be done

      with pencil and paper and a simple notification device. Id. at *4. The Asserted Claims

      bear a striking resemblance to those invalidated in Intellectual Ventures and are

      invalid for the same reasons.

            The Court attributes no significance (other than strategy) to the fact that Joao

      Bock asserts only so-called “apparatus” (or “system” or “machine”) claims here, and no

      “method” claims. The Supreme Court in Alice was perfectly willing to invalidate

      system claims that, like those in this case, were no different in substance from the

      invalid method claims, but merely recited generic computer components configured to

      implement the abstract idea. Alice, 134 S. Ct. at 2360; see DDR Holdings, 773 F.3d at

      1257 n.4. One need only compare claim 1 (apparatus) and claim 9 (method) of the ‘270

      Patent to see how purposeful drafting can turn a method claim into an apparatus

      claim. 18 The only difference between the nearly-identical claims is that the apparatus

      claim adds nouns (e.g., “a receiver for receiving,” “a processor for processing”) to the

      verbs used in the method claim (e.g., “receiving,” “processing”). ‘270 Patent col. 71 ll.

      2-15; col. 72 ll. 9-21. The Supreme Court “has long warned against interpreting § 101

      in ways that make patent eligibility depend simply on the draftsman’s art.” Alice, 134

      S. Ct. at 2360 (quotations omitted). To find the Asserted Claims patent eligible solely


            18   Claim 1 is not directly asserted, but claim 3 is and depends on claim 1.


                                                 24
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 25 of 27 PageID 31492




      because they are nominally apparatus, not method, claims would be to ignore this

      warning. The Court finds that the Asserted Claims are invalid as being drawn to

      patent-ineligible subject matter under 35 U.S.C. § 101.

             In light of this holding, the Court does not reach Fidelity’s other arguments on

      validity, which in turn renders moot Joao Bock’s motion to strike (Doc. 129) certain

      exhibits Fidelity submitted in support of those arguments. Further, since “invalid

      claims cannot give rise to liability for infringement,” Fidelity is entitled to judgment

      in its favor on infringement, as well. Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d

      1312, 1320 (Fed. Cir. 2009) (quotations omitted).

      III.   FIDELITY’S MOTION FOR SANCTIONS

             Though the Court finds that the Asserted Claims are invalid, an award of

      sanctions is a different (shorter) story. Among other things, Fidelity contends that

      Jack Henry should have prompted Joao Bock to reevaluate its claims here and that its

      continued prosecution of this case warrants sanctions. 19 Joao Bock responds that Jack

      Henry is on appeal to the Federal Circuit and, in any event, did not involve the ‘270

      Patent at all or any of the claims from the ‘003 Patent asserted here.

             The Court has previously expressed concern over the gamesmanship frequently

      displayed by Joao Bock, but has not gone so far as to enter sanctions. It declines to

      enter sanctions now either. The Jack Henry opinion is persuasive authority here, and

      a number of the Asserted Claims depend on claims invalidated in Jack Henry. But the




             19Fidelity’s other arguments on sanctions deal mostly with developments in
      other cases that relate to its prior art arguments, which the Court does not reach.


                                                25
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 26 of 27 PageID 31493




      Court is not convinced that Joao Bock deserves to be sanctioned when these claims

      had never been found ineligible before and the ruling finding them ineligible is on

      appeal. Any concerns the Court may have about Joao Bock’s decision to proceed do not

      rise to the level of imposing sanctions under Federal Rule of Civil Procedure 11, 28

      U.S.C. § 1927, or the Court’s inherent authority. Fidelity’s motion for sanctions is

      therefore due to be denied.

              Accordingly, it is hereby

              ORDERED:

              1.    Joao Bock’s ore tenus motion to stay this case pending resolution of its

      appeal in Jack Henry is DENIED.

              2.    Defendant Fidelity National Information Services, Inc.’s Motion for

      Summary Judgment of Invalidity (Doc. 124) is GRANTED in part and MOOT in

      part.

              3.    Plaintiff’s Motion to Strike Evidence Offered in Support of Defendant’s

      Motion for Summary Judgment (Doc. 129) is MOOT.

              4.    Defendant Fidelity National Information Services, Inc.’s Motion for

      Sanctions (Doc. 134) is DENIED.

              5.    The Court will enter judgment consistent with this Order.

              DONE AND ORDERED at Jacksonville, Florida the 10th day of August, 2015.




                                                26
Case 3:13-cv-00223-TJC-JRK Document 167 Filed 08/10/15 Page 27 of 27 PageID 31494




      bjb
      Copies to:

      Counsel of record

      Attachment: Appendix of Asserted Claims




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